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 7
                                 UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
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     JOHN DOE & JANE DOE, individually and on         Case No. 3:22-cv-07557
11   behalf of all others similarly situated,
12                                      Plaintiffs,   [PROPOSED] ORDER GRANTING
            v.                                        ADMINISTRATIVE MOTION TO
13                                                    CONSIDER WHETHER CASES
                                                      SHOULD BE RELATED
14   META PLATFORMS, INC.,
                                                      (CORRECTED)
15                                     Defendant.
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     [PROPOSED] ORDER GRANTING MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
     CASE NO. 3:22-CV-07557
          Case 3:22-cv-07557-SI Document 25 Filed 01/24/23 Page 2 of 2




 1          Before the Court is an administrative motion to consider whether Calderon et al. v. Meta
 2   Platforms, Inc., Case No. 5:22-cv-09149-VKD and Doe v. Meta Platforms, Inc., Case No. 3:22-cv-
 3   07557 are related. Having considered the parties’ submissions, the Court finds that the two matters
 4   meet the criteria for related cases under Civil Local Rule 3-12. Accordingly, IT IS HEREBY
 5   ORDERED that the Administrative Motion To Consider Whether Cases Should be Related is
 6   GRANTED.
 7          IT IS SO ORDERED:
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 9          Dated:         January 24     , 2023
                                                         The Honorable Susan Illston
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                                                         United States District Judge
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     [PROPOSED] ORDER GRANTING MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED                      1
     CASE NO. 3:22-CV-07557
